       Case 4:18-cv-05109-SMJ                 ECF No. 57   filed 05/17/19   PageID.1233 Page 1 of 3




 1 Mark N. Bartlett, WSBA No. 15672
   Gillian Murphy, WSBA No. 37200
 2 Arthur A. Simpson, WSBA No. 44479
   Davis Wright Tremaine LLP
 3 920 Fifth Avenue, Suite 3300
   Seattle, Washington 98104
 4 Telephone: 206.622.3150
   Facsimile: 206.757.7700
 5
   Attorneys for Defendant
 6
 7

 8                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WASHINGTON
 9
10 ALETA BUSSELMAN,

11                                      Plaintiff,                 No. 4:18-cv-05109-SMJ

12            v.                                                   STIPULATION TO EXTEND
                                                                   DEADLINE FOR PLAINTIFF TO
13 BATTELLE MEMORIAL INSTITUTE,                                    FILE MOTION TO COMPEL
   an Ohio nonprofit corporation,
14
                         Defendant.                                Noted on Motion Calendar:
15                                                                 May 17, 2019

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     STIPULATION TO EXTEND DEADLINE
                                                                                   Davis Wright Tremaine LLP
     Case No. 4:18-cv-05109-SMJ                                                             L AW O FFICE S
                                                                                      920 Fifth Avenue, Suite 3300
     4832-9657-4615v.2 0021368-000014                                                     Seattle, WA 98104
                                                                                 206.622.3150 main · 206.757.7700 fax
     Case 4:18-cv-05109-SMJ             ECF No. 57    filed 05/17/19   PageID.1234 Page 2 of 3




 1            COMES NOW the parties and state as follows:
 2            Plaintiff’s counsel John P. Sheridan has been in trial since April 15, 2019.
 3   While the parties’ counsel have diligently attempted to resolve all pending
 4   discovery disputes between them, they were unable to schedule a meet-and-confer
 5   call to address Defendant’s responses to a number of Plaintiff’s discovery requests
 6   until May 17, 2019, due to Plaintiff’s counsel’s trial commitments. The parties are
 7   continuing to attempt to resolve several discovery disputes discussed during
 8   today’s call and hereby request that the Court extend the May 20, 2019 deadline
 9   for Plaintiff to file any motion to compel by seven calendar days. The parties
10   jointly represent that good cause exists for this extension, which will further the
11   interests of judicial economy.
12            DATED this 17th day of May, 2019.
13
                                                     The Sheridan Law Firm, P.S.
14                                                   Attorneys for Plaintiff

15                                                   By s/ John P. Sheridan
                                                       John P. Sheridan, WSBA No. 21473
16
                                                       Hoge Building, Suite 1200
17                                                     705 Second Avenue
                                                       Seattle, WA 98104
18
                                                     Davis Wright Tremaine LLP
19                                                   Attorneys for Defendant
20
                                                     By s/ Mark N. Bartlett
21                                                     Mark N. Bartlett, WSBA No. 15672
                                                       Arthur A. Simpson, WSBA No. 44479
22                                                     920 Fifth Avenue, Suite 3300 |
                                                       Seattle, Washington 98104
23

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     Case 4:18-cv-05109-SMJ             ECF No. 57    filed 05/17/19   PageID.1235 Page 3 of 3




 1                                        PROOF OF SERVICE
 2            I hereby certify that on the 17th day of May, 2019, I electronically filed the
 3   foregoing document with the Clerk of the Court using the CM/ECF system which
 4   will send notification of such filing to the following:
 5
         John P. Sheridan
 6       The Sheridan Law Firm, P.S.
         Hoge Building
 7       705 Second Avenue
         Seattle, WA 98104
 8       jack@sheridanlawfirm.com
 9
         Attorney for Plaintiff
10

11                                                   s/ Mark N. Bartlett
                                                     Mark N. Bartlett, WSBA No. 15672
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                                                                                     Seattle, WA 98104
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